           Case 1:20-cv-08421-AJN-RWL Document 8 Filed 10/16/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                              10/16/2020
      (OYLV-LPHQH]

                                Plaintiff,

                       –v–                                                            20 CV  (AJN)

     Commissioner of the Social Security,                                                   ORDER

                                Defendant.



ALISON J. NATHAN, District Judge:

           By separate order, the Court has assigned this case to the assigned Magistrate Judge for a

report and recommendation on any motion for judgment on the pleadings. To conserve

resources, to promote judicial efficiency, and in an effort to achieve a faster disposition of this

matter, it is hereby ORDERED that the parties must meet and confer to discuss whether they are

willing to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the

assigned Magistrate Judge.

           If both parties consent to proceed before the Magistrate Judge, counsel for Defendant

must, within two weeks of the date on which Defendant notices an appearance, ECF file a fully

executed Notice, Consent, and Reference of a Civil Action to a Magistrate Judge form, a copy of

which is attached to this Order. 1 If the Court approves that form, all further proceedings will

then be conducted before the assigned Magistrate Judge, rather than before the undersigned.

Any appeal would be taken directly to the U.S. Court of Appeals for the Second Circuit, as it

would be if the consent form were not signed and so-ordered. An information sheet on

proceedings before magistrate judges is also attached to this Order.


1
    The form is also available at http://nysd.uscourts.gov/file/forms/consent-to-proceed-before-us-magistrate-judge.
       Case 1:20-cv-08421-AJN-RWL Document 8 Filed 10/16/20 Page 2 of 2




       If either party does not consent to conducting all further proceedings before the assigned

Magistrate Judge, the parties must file a joint letter, within two weeks of the date on which

Defendant notices an appearance, advising the Court that the parties do not consent, but without

disclosing the identity of the party or parties who do not consent. The parties are free to

withhold consent without negative consequences.

       SO ORDERED.


Dated: October 15, 2020
       New York, New York

                                              __________________________________
                                                      ALISON J. NATHAN
                                                   United States District Judge
